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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                               )
 SOVERAIN SOFTWARE LLC,
                                               )
         Plaintiff,                            )
                                               )
         v.                                    )       Case No. 6:07-CV-00511-LED
                                               )
 CDW CORPORATION,                              )       JURY TRIAL DEMANDED
 NEWEGG INC.,                                  )
 REDCATS USA, INC.                             )
 SYSTEMAX INC.,                                )
 ZAPPOS.COM, INC.,                             )
 REDCATS USA, L.P.,                            )
 THE SPORTSMAN’S GUIDE, INC.,                  )
 AND                                           )
 TIGERDIRECT, INC.,                            )
                                               )
         Defendants.                           )

                      AMENDED P.R. 4-3 JOINT CLAIM CONSTRUCTION
                            AND PREHEARING STATEMENT

         Pursuant to P.R. 4-3, the Court’s Docket Control Order, as amended, and in response to

 the March 17, 2009 Court Order (Dkt. No. 189), the parties hereby submit this Amended Joint

 Claim Construction and Prehearing Statement, to which all parties have agreed. Plaintiff

 Soverain Software LLC (“Soverain”) is making this filing on behalf of itself and all remaining

 defendants.




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 I.      AGREED CONSTRUCTIONS

         The parties have agreed upon the construction of the following claim terms, phrases, and

 clauses appearing in U.S. Pat. No. 5,715,314 (“’314 patent”), U.S. Pat. No. 5,909,492 (“’492

 patent”), and U.S. Patent No. 7,272,639 (“’639 patent”):


       Claim Term, Phrase                    Patent Claim                  Agreed Construction
            or Clause

 Message                            ’314 patent, Claims 34, 35, 39, a unit of information sent
                                    49, 74, 84, 109, 134, 144       electronically

                                    ’492 patent, Claim 17, 18, 35,
                                    36

 Plurality of products added        ’314 patent, Claims 34, 36, 39    product identifiers which are
 to . . . shopping cart / [Add a]                                     added to an instance of a
 plurality of respective                                              shopping cart in the shopping
 products to a shopping cart        ’492 patent, Claim 17, 18, 35,    cart database / [add] identifiers
                                    36                                of respective products to an
                                                                      instance of a shopping cart

 Shopping cart                      ’314 patent: Claims 34, 36, 39    a stored representation of a
                                                                      collection of products
                                    ’492 patent, Claims 17, 18, 35,
                                    36

 Shopping cart database             ’314 patent, Claims 34, 39        a database of stored
                                                                      representations of collections
                                    ’492 patents, Claims 17, 18,      of products
                                    35, 36
                                                                      where “database” means a
                                                                      collection of logically related
                                                                      data stored together in one or
                                                                      more computerized files

 An identifier of a purchaser       ’639 patent, Claim 62             a text string that identifies a
                                                                      purchaser

 Charging the user . . .            ’639 patent, Claim 60             charging an account
 according to the user                                                associated with the user
 information                                                          according to the user
                                                                      information




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       Claim Term, Phrase                     Patent Claim                Agreed Construction
            or Clause

 Durable product                    ’639 patent, Claim 68            physical product

 Forwarding . . . from the client ’639 patent, Claim 1               sending . . . from the client to
 to the server system                                                the server system

 Fulfilling the purchase request    ’639 patent, Claim 60            carrying out the purchase
 based on the user information                                       request based on the user
                                                                     information

 Returning                          ’639 patent, Claims 1, 47, 79    sending back

 user identifier                    ’639 patent, Claim 60            a text string that identifies a
                                                                     user




 II.     DISPUTED CONSTRUCTIONS

         Exhibit A is a side-by-side comparison of the parties’ proposed constructions of the

 terms, phrases, and clauses that are still in dispute.

         Exhibit B sets forth Soverain’s proposed constructions of the disputed claim terms,

 phrases, or clauses, together with an identification of references from the specifications or

 prosecution histories supporting those constructions, and an identification of any extrinsic

 evidence known to Soverain on which it intends to rely either to support its proposed

 constructions or to oppose the constructions proposed by the defendants.

         Exhibit C sets forth the defendants’ proposed constructions of the disputed claim terms,

 phrases, or clauses, together with an identification of references from the specifications or

 prosecution histories supporting those constructions, and an identification of any extrinsic

 evidence known to the defendants on which they intend to rely either to support their proposed

 constructions or to oppose the constructions proposed by Soverain.




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         Exhibit D sets forth Systemax and TigerDirect’s proposed construction of the term

 “shopping cart computer,” together with an identification of references from the specifications or

 prosecution histories supporting that construction, and an identification of any extrinsic evidence

 known to Systemax and TigerDirect on which they intend to rely either to support their proposed

 construction or to oppose the construction for “shopping cart computer” proposed by Soverain.

         Exhibit E sets forth terms which defendants Newegg Inc., Systemax Inc, and TigerDirect,

 Inc. adopted from the Amazon Markman Order, Civil Action 6:04-cv-14, and for which one or

 more of these defendants expressly preserved the right of appeal. Specifically, Exhibit E

 contains an identification of the record, upon which an appeal from the adopted claim

 constructions is to be based.


 III.    LENGTH OF TIME NEEDED FOR CLAIM-CONSTRUCTION HEARING

         The parties suggest that approximately four hours be set aside for the claim-construction

 hearing.


 IV.     WITNESSES

         No party will call any witnesses at the claim-construction hearing.


 V.      NO ISSUES FOR A PREHEARING CONFERENCE

         At this time, the parties do not believe there are any issues to be taken up at a Prehearing

 Conference.




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 Dated: March 23, 2009                 Respectfully submitted,



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